Case 2:21-cv-04405-RGK-MAR Document 95 Filed 04/21/22 Page 1 of 26 Page ID #:1513



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                          IN THE UNITED STATES DISTRICT COURT
   15                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                     WESTERN DIVISION
   16
                                                  Case No. 2:21-cv-04405-RGK-MAR
   17   PAUL SNITKO, JENNIFER                     OPPOSED FIRST PLAINTIFFS’ EX
        SNITKO, JOSEPH RUIZ, TYLER                PARTE APPLICATION FOR
   18   GOTHIER, JENI VERDON-                     ORDER SETTING A SCHEDULE
        PEARSONS, MICHAEL STORC,                  FOR PRODUCTION OF
   19   and TRAVIS MAY,                           DOCUMENTS AND DISCOVERY
   20                                 Plaintiffs, MOTIONS
                     v.                           (Memorandum of Points and Authorities
   21                                             Attached Hereto; Filed Concurrently
                                                  with Declaration of Nilay U. Vora and
   22   UNITED STATES OF AMERICA,                 Supporting Exhibits; Declaration of
        TRACY L. WILKISON, in her                 Robert Frommer; and Proposed Order)
   23   official capacity as Acting United
        States Attorney for the Central           DISCOVERY MATTER
   24   District of California, and KRISTI
        KOONS JOHNSON, in her official
   25   capacity as an Assistant Director of      Judge: Hon. Margo A. Rocconi
        the Federal Bureau of Investigation,      Discovery cutoff date: TBD
   26                                             Pre-Trial Conference Date: TBD
                                    Defendants. Trial Date: July 26, 2022
   27                                             Complaint Filed: May 27, 2021
                                                  Amended Complaint Filed: June 9, 2021
   28

          EX PARTE APPLICATION FOR ORDER SETTING A SCHEDULE FOR PRODUCTION OF DOCUMENTS
                                      AND DISCOVERY MOTIONS
Case 2:21-cv-04405-RGK-MAR Document 95 Filed 04/21/22 Page 2 of 26 Page ID #:1514



    1        PLEASE TAKE NOTICE that Plaintiffs Paul Snitko, Jennifer Snitko, Joseph
    2   Ruiz, Tyler Gothier, Jeni Verdon-Pearsons, Michael Storc, and Travis May, as
    3   representatives of a certified class, hereby move for an order to set a schedule for
    4   production of documents, as well as for relief establishing a schedule for the parties
    5   to expeditiously resolve any dispute regarding the scope of production.
    6        Although Plaintiffs in this case served merits discovery on November 5, 2021,
    7   Defendants (the United States of America and several federal officials, sued in their
    8   official capacities) have produced only a small handful of documents—and almost
    9   all of the documents produced so far are already publicly available on the dockets
   10   in other cases. On March 30, 2022, in an Order approving a protective order to
   11   allow for production of confidential, non-public materials sought by Plaintiffs, the
   12   Court stated that “[t]here is no reason why Defendants cannot immediately provide
   13   the list of class members and other requested documents to the Plaintiffs.” Dkt. 90
   14   at 8 n.3 (emphasis added). Three weeks after that Order, the government finally
   15   provided the list of class members but still has not produced the requested
   16   documents. The most recent email from counsel for the government, sent April 20,
   17   2022, refused to commit to a firm date for production. In other words, the
   18   government has indicated that it intends to produce responsive documents but will
   19   not say when those documents will be produced.
   20        Emergency relief is requested because the government’s refusal to commit to a
   21   schedule for production of documents in this case creates a significant risk that
   22   these Plaintiffs—and the broader class—will be prejudiced in their ability to present
   23   the significant constitutional claims at issue in this case. The Court set a deadline of
   24   June 21, 2022 for opening briefs in this case, and the case is scheduled for trial on
   25   the briefs on July 26, 2022. Depositions are scheduled to begin as early as April 28,
   26   with the bulk of depositions (including the 30(b)(6) deposition) occurring May 16-
   27   27. If the government does not produce documents in a timely fashion, Plaintiffs
   28   will not have access to documents for depositions and may not even have access to
                                                   1
          EX PARTE APPLICATION FOR ORDER SETTING A SCHEDULE FOR PRODUCTION OF DOCUMENTS
                                      AND DISCOVERY MOTIONS
Case 2:21-cv-04405-RGK-MAR Document 95 Filed 04/21/22 Page 3 of 26 Page ID #:1515



    1   documents by the time opening briefs are due. And if there are any deficiencies in
    2   the government’s production, there will be no time to litigate any such issues before
    3   depositions occur and briefs are due.
    4        To address this risk of prejudice, this Ex Parte Application seeks an order that
    5   would (1) order the government to begin producing documents as soon as they are
    6   available and set a firm date of May 6, 2022 for the government to finish its
    7   production, (2) order the government to specifically identify, in writing within 7
    8   days, any categories of responsive documents that it intends to withhold from its
    9   upcoming production, (3) order the government to provide a complete privilege log
   10   no later than May 6, 2022, and (4) adopt an expedited briefing schedule for any
   11   subsequent motion to compel. In the alternative, and at a minimum, the government
   12   should be ordered to show cause why relief should not issue on such terms.
   13        Defendants are represented by Assistant United States Attorneys Andrew
   14   Brown (Andrew.Brown@usdoj.gov), Victor Rodgers (Victor.Rodgers@usdoj.gov),
   15   and Maxwell Coll (Maxwell.Coll@usdoj.gov), 1100/1400/1200 United States
   16   Courthouse, 312 North Spring Street, Los Angeles, CA 90012, Telephone: (213)
   17   894-0102/2569/1785. Plaintiffs informed Defendants’ counsel of their intent to file
   18   this Application via email on April 20, 2022, and Plaintiffs provided the oral notice
   19   required by Local Rule 7-19.1 at 10:00 a.m. on April 21, 2022 and served this
   20   Application on Defendant’s counsel via email later that same day. Plaintiffs
   21   informed Defendants’ counsel that their response to the Application, if any, would
   22   be due no more than 24 hours from the electronic filing of the Application.
   23        When the parties conferred the morning of April 21, AUSA Victor Rodgers
   24   stated that the government intends to oppose the Application. Vora Decl. ¶ 12;
   25   Frommer Decl. ¶ 3. AUSA Rodgers stated that production of responsive documents
   26   is the responsibility of several departments within the FBI, only some of which he
   27   is able to communicate with, and that due to the FBI’s internal procedures he is
   28   unable to provide a firm date for production. Frommer Decl. ¶ 4. AUSA Rodgers
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          EX PARTE APPLICATION FOR ORDER SETTING A SCHEDULE FOR PRODUCTION OF DOCUMENTS
                                      AND DISCOVERY MOTIONS
Case 2:21-cv-04405-RGK-MAR Document 95 Filed 04/21/22 Page 4 of 26 Page ID #:1516



    1   reiterated that the government intends to produce documents in response to
    2   Plaintiffs’ requests, including, in particular, RFPs 6, 7, 8, and 9. Id. However, he
    3   stated that because of the internal processes of the FBI the government is unable to
    4   commit to a firm schedule for production of those documents. Id.
    5
        Dated: April 21, 2022
    6                                             Respectfully Submitted,
    7
                                                   /s/ Robert Frommer                      s
    8
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          EX PARTE APPLICATION FOR ORDER SETTING A SCHEDULE FOR PRODUCTION OF DOCUMENTS
                                      AND DISCOVERY MOTIONS
Case 2:21-cv-04405-RGK-MAR Document 95 Filed 04/21/22 Page 5 of 26 Page ID #:1517



    1                                           TABLE OF CONTENTS
                                                                                                                           Page
    2

    3      NOTICE ........................................................................................................... 1
    4      TABLE OF AUTHORITIES .......................................................................... ii
    5      I.       INTRODUCTION ................................................................................. 1
    6      II.      BACKGROUND ................................................................................... 2
    7                    A.       The USPV Search .................................................................... 2
    8                    B.       Initial Decisions ....................................................................... 4
    9                    C.       Discovery Prior to the Court’s March 30 Order ...................... 5
   10                             i. The November 2021 Requests ............................................ 5
   11                             ii. The Government’s Extension Request ................................ 5
   12                             iii. The Government’s Response .............................................. 6
   13                             iv. The Initial Meet-and-Confer .............................................. 7
   14                    D.       Discovery Subsequent to the Court’s March 30 Order ........... 8
   15      III.     LEGAL STANDARD............................................................................ 12
   16      IV.      ARGUMENT .......................................................................................... 12
   17                    A.       The Court’s Intervention Is Required To Set A Schedule
                                  That Will Allow The Parties To Complete Discovery In
   18                             A Timely Fashion ..................................................................... 12
   19                    B.       This Application Meets The Standard For Ex Parte Relief ..... 16
   20                             1.        Plaintiffs Are Without Fault In Creating The Need
                                            For The Court’s Intervention.......................................... 16
   21
                                  2.        Plaintiffs Will Be Irreparably Prejudiced Absent
   22                                       The Court’s Intervention ................................................ 18
   23      V.       CONCLUSION ....................................................................................... 19
   24

   25

   26

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   28
                                                                   i
          EX PARTE APPLICATION FOR ORDER SETTING A SCHEDULE FOR PRODUCTION OF DOCUMENTS
                                      AND DISCOVERY MOTIONS
Case 2:21-cv-04405-RGK-MAR Document 95 Filed 04/21/22 Page 6 of 26 Page ID #:1518



    1                                         TABLE OF AUTHORITIES
                                                                                                                          Page
    2   CASES
    3   Altair Instruments, Inc. v. Telebrands Corp.,
            No. 2:19-CV-08967-PSG-JC,
    4       2020 WL 6106821 (C.D. Cal. July 10, 2020) ......................................... 12,14, 18
    5   City of Colton v. Am. Promotional Events, Inc.,
            No. 09-CV-01864, 2011 WL 13224072 (C.D. Cal. May 26, 2011) .................. 15
    6
        City of Riverside v. Greyhound Lines, Inc.,
    7       No. EDCV16796ABSPX, 2017 WL 11632085 (C.D. Cal. May 16, 2017) ....... 19
    8   Does 1-6 v. United States,
           No. 21-cv-3254 (C.D. Cal.) .................................................................................. 6
    9
        In re Search and Seizure of Box No. 8309 at U.S. Private Vaults,
   10       No. 21-cv-3554 (C.D. Cal.) ............................................................................ 3, 11
   11   Martin v. City of Barstow,
           No. EDCV132193ABSP, 2015 WL 12743593 (C.D. Cal. May 5, 2015).......... 19
   12
        Power Eng’g Co. v. Cont’l Cas. Co.,
   13      883 F. Supp. 488 (C.D. Cal. 1995) ..................................................................... 12
   14   Rivas v. Gov’t Emps. Ins. Co.,
           No. 20-cv-00306, 2020 WL 8172993 (D. Nev. Apr. 23, 2020) ......................... 15
   15
        Sarieddine v. D&A Distrib., LLC,
   16       No. 17-cv-2390, 2018 WL 5094937 (C.D. Cal. Apr. 6, 2018) .......................... 15
   17   United States v. Johnson,
           889 F.3d 1120 (9th Cir. 2018) .............................................................................. 2
   18
        United States v. W.R. Grace,
   19      526 F.3d 499 (9th Cir. 2008) .............................................................................. 14
   20   Vasquez v. County of Stanislaus,
           No. 19-cv-01610, 2020 WL 6728933 (E.D. Cal. Nov. 16, 2020) ...................... 15
   21
        CONSTITUTIONAL PROVISION
   22
        U.S. Const. amend. IV .................................................................................... 1, 2, 4, 5
   23

   24   RULES
   25   Fed. R. Civ. P. 37(a) ................................................................................................. 14
   26   Fed. R. Civ. P. 83(a) ................................................................................................. 18
   27   Fed. R. Civ. P. 83(a)(2)............................................................................................. 18
   28
                                                                   ii
          EX PARTE APPLICATION FOR ORDER SETTING A SCHEDULE FOR PRODUCTION OF DOCUMENTS
                                      AND DISCOVERY MOTIONS
Case 2:21-cv-04405-RGK-MAR Document 95 Filed 04/21/22 Page 7 of 26 Page ID #:1519



    1   I.     INTRODUCTION
    2          On March 30, 2022, after approving a protective order to allow for production
    3   of confidential non-public documents, the Court stated that “[t]here is no reason
    4   why Defendants cannot immediately provide the list of class members and other
    5   requested documents to the Plaintiffs” and “urge[d] Defendants to take care to
    6   timely provide and respond to all pending discovery requests.” Dkt. 90 at 8 n.3
    7   (emphasis added). Three weeks after the Court’s Order, the government still has not
    8   produced the vast majority of the requested documents.1
    9          The Court’s March 30 Order directed Plaintiffs to “conduct proper meet and
   10   confer sessions addressing the disputed discovery matters,” Dkt. 90 at 8, and since
   11   that time Plaintiffs have conferred with counsel for the government in an attempt to
   12   (1) establish a schedule for production and (2) ascertain whether any categories of
   13   responsive documents will be withheld when production occurs. The government
   14   has assured Plaintiffs’ counsel that documents will be produced. At the same time,
   15   however, the government has refused to agree to a firm timeline for production,
   16   and, over the course of these communications, the estimated date for production has
   17   moved backwards in time. In addition, while the government has assured Plaintiffs
   18   that documents will be produced, the government has left open the door to
   19   withholding unspecified documents from its eventual production. The government
   20   has declined even to commit to a date to provide a privilege log.
   21          As a result, there is a real and significant risk that Plaintiffs and the broader
   22   certified class will be prejudiced in their ability to present the important Fourth
   23   Amendment claims at issue in this case. Opening briefs in this case are due June 21,
   24   2022, and the case is scheduled for trial on the briefs on July 26, 2022. With the
   25   parties only two months out from the first briefing deadline, Plaintiffs have no
   26   choice but to start taking depositions. Plaintiffs will be forced to take some or all
   27            1
                Defendants in this case include the United States of America, as well as
        federal officers sued in their official capacities. For ease of reference, this
   28
        memorandum refers to Defendants collectively as “the government.”
                                                     1
             EX PARTE APPLICATION FOR ORDER SETTING A SCHEDULE FOR PRODUCTION OF DOCUMENTS
                                         AND DISCOVERY MOTIONS
Case 2:21-cv-04405-RGK-MAR Document 95 Filed 04/21/22 Page 8 of 26 Page ID #:1520



    1   depositions without access to documents, and Plaintiffs may not even have access
    2   to the requested documents by the time briefs are due. Moreover, if the
    3   government’s eventual production is in any way deficient, it increasingly appears
    4   that there will not be time to litigate any resulting discovery dispute.
    5        In order to address this risk of prejudice, this Ex Parte Application asks the
    6   Court to (1) order the government to begin producing documents as soon as they
    7   are available and set a firm date of May 6, 2022 for the government to finish its
    8   document production, (2) order the government to specifically identify, in writing
    9   within 7 days, any categories of responsive documents that it intends to withhold
   10   from its upcoming production, (3) order the government to provide a complete
   11   privilege log no later than May 6, 2022, and (4) adopt an expedited briefing
   12   schedule for any subsequent motion to compel.
   13   II. BACKGROUND
   14        A.   The USPV Search
   15        This Application arises out of one of the most significant Fourth Amendment
   16   cases being litigated in the country today. On March 17, 2021, the government
   17   obtained a warrant that authorized it to seize the “business equipment” of U.S.
   18   Private Vaults—a safe deposit company in Beverly Hills. The warrant specifically
   19   stated that the “warrant does not authorize a criminal search or seizure of the
   20   contents of the safety deposit boxes.” Yet the government broke open every box in
   21   the U.S. Private Vaults facility.
   22        The government has attempted to justify its search of these boxes as an
   23   inventory search. The usual purpose of an inventory search is to prevent theft and
   24   loss by creating a record of seized property, see United States v. Johnson, 889 F.3d
   25   1120, 1128 (9th Cir. 2018), but this was a curious inventory search insofar as it
   26   involved opening locked boxes—thereby creating a risk of theft and loss that would
   27   not otherwise exist. But, even setting that aside, the government represented that its
   28   inventory search would be limited in scope: The warrant application stated that the

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          EX PARTE APPLICATION FOR ORDER SETTING A SCHEDULE FOR PRODUCTION OF DOCUMENTS
                                      AND DISCOVERY MOTIONS
Case 2:21-cv-04405-RGK-MAR Document 95 Filed 04/21/22 Page 9 of 26 Page ID #:1521



    1   government would search the boxes to “look for contact information or something
    2   which identifies the owner,” and stated that, under official FBI policies, the
    3   inspection “should extend no further than necessary to determine ownership.”
    4        Documents already in the public record show that the government blazed past
    5   these limitations. While many box holders placed an envelope with identifying
    6   information outside the inner sleeve of the box, the government continued with its
    7   search even after finding that identifying information. See, e.g., Declaration of
    8   Benjamin N. Gluck in Support of First Amended Complaint for Relief Under Fed.
    9   R. Crim. Pro. 41; Requesting Missing Property and Inventory and Records, In re
   10   Search and Seizure of Box No. 8309 at U.S. Private Vaults, No. 21-cv-3554, Dkt.
   11   16 (C.D. Cal.). The government also ran currency from the boxes past drug dogs—
   12   an act with no connection to any inventory search—and opened sealed envelopes
   13   inside the boxes to inspect and copy the contents. Id.; Dkt. 45 at 8. The inventories
   14   that the government produced did not contain information that would be useful to
   15   an actual inventory; quantities of gold coins, for instance, were described only as
   16   “misc. coins.” See Exhibit B to Declaration of Nicole R. Van Dyk in Support of
   17   First Amended Complaint, In re Search and Seizure of Box No. 8309 at U.S.
   18   Private Vaults, No. 21-cv-3554, Dkt. 13-4 (C.D. Cal.). In other words, the
   19   government sought out information irrelevant to any inventory while failing to
   20   record information that would be useful to protect against theft and loss.
   21        The government followed up its search by commencing civil forfeiture
   22   proceedings against the contents of hundreds of boxes containing millions of
   23   dollars of property. See Dkt. 44-8. The forfeiture notices that the government sent
   24   to box holders did not identify the factual or legal basis for the forfeiture
   25   proceedings, instead citing a grab-bag of different legal provisions. See, e.g., Dkt.
   26   44-9. Through these notices, the government sought to terminate box holders’
   27   property rights.
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          EX PARTE APPLICATION FOR ORDER SETTING A SCHEDULE FOR PRODUCTION OF DOCUMENTS
                                      AND DISCOVERY MOTIONS
Case 2:21-cv-04405-RGK-MAR Document 95 Filed 04/21/22 Page 10 of 26 Page ID #:1522



     1        B.    Initial Decisions
     2        On June 22, 2022, the Court granted several of the individual Plaintiffs a
     3   temporary restraining order, entering relief that barred the government from
     4   forfeiting those Plaintiffs’ property “without first sending forfeiture notices that
     5   identify the specific factual and legal basis for the Government’s determination to
     6   commence civil forfeiture proceedings.” Dkt. 52 at 7. The Court found that the
     7   “Plaintiffs [had] established a likelihood of success on the merits of their argument
     8   that the anemic notices violate their right to due process of law.” Id. at 5. The Court
     9   converted the TRO to a preliminary injunction on July 16, 2021. Dkt. 58.
    10        Then, on July 23, 2021, the Court entered an order that granted additional
    11   preliminary injunctive relief to Plaintiff Joseph Ruiz. Dkt. 60. The government was
    12   continuing to hold Mr. Ruiz’s property without explanation, and the Court found
    13   that this ongoing seizure violated the Fourth Amendment insofar as the government
    14   had failed to offer “any specific factual or legal justification for the Government’s
    15   retention of” Ruiz’s property. Id. at 5; see also id. at 6.
    16        The government subsequently terminated its civil forfeiture proceedings with
    17   respect to all the individual Plaintiffs, and, on September 9, 2021, the Court entered
    18   an order that dismissed several counts of the First Amended Complaint as moot but
    19   that allowed the case to proceed as to Count I. See Dkt. 75. The Court explained
    20   that Count I challenged the legality of the initial search of the U.S. Private Vaults
    21   safe deposit boxes and held that “Plaintiffs plausibly allege that the agents that
    22   conducted the search of Plaintiffs’ boxes did in fact exceed the scope of the
    23   inventory search authorized by the warrant.” Id. at 6. The Court also held that this
    24   Fourth Amendment claim was not moot insofar as Plaintiffs sought relief ordering
    25   the government to “return or destroy all records that the Government created during
    26   the course of its search and seizure.” Id. at 5–6.
    27        Finally, on October 12, 2021, the Court entered an order certifying the case as
    28   a class action in order to allow these individual Plaintiffs to pursue this Fourth

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           EX PARTE APPLICATION FOR ORDER SETTING A SCHEDULE FOR PRODUCTION OF DOCUMENTS
                                       AND DISCOVERY MOTIONS
Case 2:21-cv-04405-RGK-MAR Document 95 Filed 04/21/22 Page 11 of 26 Page ID #:1523



     1   Amendment claim on behalf of a class of all U.S. Private Vaults box holders who
     2   identified themselves to the FBI in order to claim their property and ultimately had
     3   their property returned. See Dkt. 78.
     4        C.   Discovery Prior to the Court’s March 30 Order
     5             i. The November 2021 Requests
     6        Following some initial discovery focused on the issue of class certification,
     7   Plaintiffs served the government with their first merits-focused discovery on
     8   November 5, 2021. See Vora Decl. Ex. A. Because the sole remaining claim in this
     9   case focuses on the legality of the government’s search of the U.S. Private Vaults
    10   facility—and, specifically, whether that search can be justified as an “inventory”—
    11   the requests sought information and documents to establish the manner in which the
    12   government conducted its search. Among other things:
    13          RFP 6 sought all written directions provided to officers who conducted
    14             the search.
    15          RFP 7 sought all internal policy documents applied to guide the conduct
    16             of the officers who conducted the search.
    17          RFP 8 sought all written inventories produced during the search of the
    18             boxes of class members.
    19          RFP 9 sought all video recordings showing the manner in which
    20             government officials conducted the search of class members’ boxes.
    21          RFP 10 sought policy documents that will govern the subsequent
    22             retention of documents and other records produced during the search.
    23   See id.
    24             ii. The Government’s Extension Request
    25        On November 29, 2021, counsel for the government emailed to request an
    26   extension of time to respond to these requests. See Vora Decl. Ex. B at 20. While
    27   Plaintiffs indicated that they were willing to agree to a limited extension, Plaintiffs
    28   suggested that the government at least “stick by the December 8 due date in terms

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           EX PARTE APPLICATION FOR ORDER SETTING A SCHEDULE FOR PRODUCTION OF DOCUMENTS
                                       AND DISCOVERY MOTIONS
Case 2:21-cv-04405-RGK-MAR Document 95 Filed 04/21/22 Page 12 of 26 Page ID #:1524



     1   of providing to Plaintiffs any objections they might have regarding Plaintiffs’
     2   discovery requests” so that Plaintiffs could begin the process to ripen any such
     3   objections into a motion to compel. See id. at 18. Plaintiffs’ counsel expressed
     4   concern that, if objections were not timely surfaced, there would not be adequate
     5   time to litigate any issues concerning the scope of the government’s production. Id.
     6   Counsel for the government rejected this request, stating, “I will not know what
     7   objections I will be asserting, until such time as I have all the documents I intend to
     8   produce.” Id. at 17.
     9        Following some additional back-and-forth on this proposed extension, counsel
    10   for the government explained that an extension was necessary to accommodate “the
    11   FBI employees who must assemble the documents necessary to respond to
    12   discovery.” See id. at 16. Counsel for the government insisted that “this is a good
    13   faith request.” Id. On the understanding that the FBI would use the additional time
    14   to assemble the documents, Plaintiffs’ counsel agreed to extend the government’s
    15   response date on these discovery requests to January 7. Id. at 15.
    16        iii. The Government’s Response
    17        Notwithstanding the government’s representation that an extension was
    18   necessary to allow the FBI to assemble documents, the January 7 production did not
    19   include any documents in response to Plaintiffs’ requests for production of
    20   documents. See Vora Decl. Ex. C. The response raised a number of objections but
    21   did not include a privilege log or state whether documents were withheld pursuant
    22   to those objections. Id.
    23        On January 14, 2021, the government finally produced a document in
    24   response to Plaintiffs’ discovery requests. The document that the government sent
    25   was a full copy of the search and seizure warrants, as well as the underlying
    26   applications and affidavits. But this document was of limited utility, given that the
    27   warrant and affidavit had already been unsealed in a related action. See Does 1-6 v.
    28   United States, No. 21-cv-3254, Dkt. 20 (C.D. Cal.).

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           EX PARTE APPLICATION FOR ORDER SETTING A SCHEDULE FOR PRODUCTION OF DOCUMENTS
                                       AND DISCOVERY MOTIONS
Case 2:21-cv-04405-RGK-MAR Document 95 Filed 04/21/22 Page 13 of 26 Page ID #:1525



     1        iv. The Initial Meet-and-Confer
     2        The parties met to confer on January 24, 2022, and following that meeting
     3   Plaintiffs sent a letter to encapsulate the discussion. See Vora Decl. Ex. D (letter to
     4   government’s counsel); Vora Decl. Ex. E at 39–40 (email transmission of letter).
     5   The letter sought to confirm Plaintiffs’ understanding, based on the meet and
     6   confer, that the government had committed to produce documents in response to the
     7   various requests for production as soon as a protective order was in place. See Vora
     8   Decl. Ex. D. Specifically:
     9          With respect to RFP 6, seeking instructions to guide the search, the letter
    10             stated that “[y]ou said Defendants intend to produce documents
    11             responsive to this request” and reiterated the relevant date range.
    12          With respect to RFP 7, seeking policy documents governing the search,
    13             the letter stated that “[w]e understand that Defendants intend to produce
    14             the documents responsive to this request.”
    15          With respect to RFPs 8 and 9, seeking written inventories and video
    16             recordings, the letter stated “[w]e understand that Defendants intend to
    17             produce the documents responsive to these requests.”
    18          With respect to RFP 10, seeking policy documents governing retention of
    19             documents, the letter stated that “[w]e understand that Defendants intend
    20             to produce the documents responsive to this request.”
    21   See id. Counsel for the government responded to this letter three days later with an
    22   email attaching a proposed protective order. See Vora Decl. Ex. E at 39. Counsel
    23   for the government did not suggest that the understanding expressed in Plaintiffs’
    24   letter was in any way incorrect.
    25        It soon became clear that the parties could not agree on the contours of a
    26   protective order, and the parties worked to present that issue to the Court. See id. at
    27   33–39. In the course of preparing those motion papers, counsel for Plaintiffs
    28   emailed again to confirm whether there were any other issues that ought to be

                                                    7
           EX PARTE APPLICATION FOR ORDER SETTING A SCHEDULE FOR PRODUCTION OF DOCUMENTS
                                       AND DISCOVERY MOTIONS
Case 2:21-cv-04405-RGK-MAR Document 95 Filed 04/21/22 Page 14 of 26 Page ID #:1526



     1   briefed. Vora Decl. Ex. F at 49–50. Government’s counsel declined to express any
     2   further objections beyond the protective order issue, instead stating that his
     3   “objections provide[d] that the government will produce information once an
     4   appropriate protective order is entered.” Id. at 48.
     5        D.   Discovery Subsequent to the Court’s March 30 Order.
     6        On March 30, 2022, the Court entered an order resolving the dispute
     7   concerning the protective order. See Dkt. 90. In addition, while Plaintiffs had asked
     8   the Court to order the government to produce documents promptly following the
     9   entry of a protective order, the Court declined that request, explaining that the Court
    10   would not order the government to produce documents until the parties had
    11   “conduct[ed] proper meet and confer sessions.” Id. at 8. The Court, however,
    12   “urge[d] Defendants to take care to timely provide and respond to all pending
    13   discovery requests” and expressed that there was “no reason why Defendants
    14   cannot immediately provide the list of class members and other requested
    15   documents to the Plaintiffs.” Id. at 8 n.3.
    16        On April 11, 2022, when documents still had not been produced, Plaintiffs’
    17   counsel emailed government counsel to ask for a “date certain for production.”
    18   Vora Decl. Ex. G at 54. Plaintiffs’ counsel began scheduling depositions following
    19   the entry of the protective order—in anticipation of the upcoming briefing and trial
    20   dates—and explained that “we need the documents to move forward.” Id. Counsel
    21   for the government responded that he would send an update on the document
    22   production “tomorrow or Wednesday” and that “I need to check a couple of things,
    23   again, with the FBI first.” Id.
    24        On April 13, 2022, counsel for Plaintiffs again emailed counsel for the
    25   government seeking to establish “a plan to complete both written discovery and
    26   depositions in time to meet the deadlines in the current briefing schedule.” Vora
    27   Decl. Ex. H at 60. Later that day, counsel for the government responded to state that
    28   the government would supplement its interrogatory responses on April 19. Id. at 59.

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           EX PARTE APPLICATION FOR ORDER SETTING A SCHEDULE FOR PRODUCTION OF DOCUMENTS
                                       AND DISCOVERY MOTIONS
Case 2:21-cv-04405-RGK-MAR Document 95 Filed 04/21/22 Page 15 of 26 Page ID #:1527



     1   With respect to production of documents, the government committed to send one
     2   additional policy document on April 19. Id. With respect to all other documents,
     3   however, the government stated that the FBI’s Discovery Unit was just now
     4   reviewing the documents and that they still had not been reviewed by the FBI’s
     5   Office of General Counsel. Id. Counsel stated that he would produce documents in
     6   “waves” and stated, “I estimate that the full production will be completed within
     7   three weeks.” Id. Three weeks from April 13 would put the government’s
     8   production at May 4, 2022.
     9        On April 14, 2022 the parties conferred via telephone to discuss the schedule
    10   for production of documents. See Vora Decl. ¶ 2. Plaintiffs asked the government to
    11   commit to a firm May 6, 2022 deadline to produce documents. Id. ¶ 3. In addition,
    12   out of concern that Plaintiffs still did not know exactly what documents (if any) the
    13   government intended to withhold, Plaintiffs asked the government to commit to
    14   providing a privilege log by a date certain. Id. ¶ 4. Plaintiffs also pressed the
    15   government further about what documents exactly the government was preparing to
    16   produce. Id. ¶ 6. Notably, although the government had previously committed to
    17   produce documents in response to RFP 10, see supra pp. 7–8, the government at the
    18   meet-and-confer now suggested that it had not actually decided whether it would
    19   produce documents in response to that request. See Vora Decl. ¶ 7.2
    20        On Friday, April 15, 2022, the government sent an additional email providing
    21   an update on matters discussed at the conference. In this email, the government’s
    22   counsel stated that the “FBI cannot commit to a May 6, 2022 100% production of
    23   everything you request.” Vora Decl. Ex. I at 66–67. In response to Plaintiffs’
    24   request that the government commit to a time to produce a privilege log,
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    26           To be clear, this Application does not seek to resolve any dispute with
         respect to RFP 10, and Plaintiffs will move separately on that question if the parties
    27   are unable to resolve that dispute. Plaintiffs mention the government’s change of
         position with respect to RFP 10 to illustrate the need to establish a deadline for the
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         government to specify any categories of documents that will not be produced.
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           EX PARTE APPLICATION FOR ORDER SETTING A SCHEDULE FOR PRODUCTION OF DOCUMENTS
                                       AND DISCOVERY MOTIONS
Case 2:21-cv-04405-RGK-MAR Document 95 Filed 04/21/22 Page 16 of 26 Page ID #:1528



     1   government counsel referenced back to this same statement. Id. Contrary to prior
     2   representations that the government would respond to RFP 10, the government
     3   flatly stated that documents responsive to RFP 10 “will not be produced,” and yet,
     4   at the same time, invited Plaintiffs to provide “any argument as to their relevancy.”
     5   Id.
     6         Plaintiffs responded to this email on Monday, April 18, 2022, asking whether
     7   the government could “commit that production will at least be substantially
     8   complete before the Zellhart deposition on May 6.” Id. at 64–66. Given the
     9   government’s commitment to produce documents in “waves,” Plaintiffs’ counsel
    10   also asked when the “first wave of documents” would be produced. Id. at 65.
    11   Plaintiffs’ counsel also once again expressed that “I just want to nail down exactly
    12   what documents the government is preparing to produce” and asked questions to
    13   that effect. Id. As invited by the government, Plaintiffs’ counsel also explained the
    14   relevance of the documents sought by RFP 10, while also contending that the time
    15   for the government to raise any relevancy objection had long since passed. Id.
    16         On April 19, 2022, the government served updated interrogatory responses, as
    17   well as a single policy document.3 Then, on April 20, 2022, counsel for the
    18   government again responded to Plaintiffs’ counsel to reiterate that its earlier “three
    19   week” estimate (which would have had production completed by May 4, 2022) was
    20   “an estimate of the production date, and not a firm 100% commitment.” Vora Decl.
    21   Ex. I at 63. Counsel also reiterated that “I cannot commit 100% to producing the
    22   [privilege] log by May 6.” Id. Counsel also significantly walked back his earlier
    23   commitment to provide discovery in “waves,” stating: “As to the written
    24   documents, and my statement that I hope to produce them in waves, I do not know
    25   the exact date when the first wave will start, but I believe it will be during the week
    26   of May 2.” Id. (emphasis added). In other words, while the government previously
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                Despite having delayed production ostensibly to secure a protective order,
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         the government did not designate the policy document as confidential.
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           EX PARTE APPLICATION FOR ORDER SETTING A SCHEDULE FOR PRODUCTION OF DOCUMENTS
                                       AND DISCOVERY MOTIONS
Case 2:21-cv-04405-RGK-MAR Document 95 Filed 04/21/22 Page 17 of 26 Page ID #:1529



     1   estimated that production would occur in waves and be complete by May 4, the
     2   government now estimated these “waves” would begin the week of May 2.
     3        For the first time, the government’s counsel also drew a distinction between
     4   the time for production of written documents and video evidence.4 Id. Counsel
     5   stated that “I believe” production of “written documents” would be “substantially
     6   complete” by May 6, 2022—a date roughly consistent with the earlier May 4
     7   estimate, but hard to square with the statement that production would occur in
     8   “waves” beginning May 2. Id. However, counsel stated that “the videos are more
     9   complicated in the redaction process5 and transmission to you.” Id. Counsel also
    10   stated that they were working through technical difficulties “transmitting [the
    11   videos] within the FBI,” which apparently involves “burning” the videos to CDs or
    12   other similar media. Id. Counsel did not provide any estimate for production of
    13   video evidence, even though that evidence is critical to Plaintiffs’ claims.
    14        Finally, counsel for the government made clear that the requested documents
    15   would not be available in time for depositions in this case, stating: “If you want
    16   documents prior to the depositions, then you should probably wait until I can give
    17   you additional updates.” Id.
    18

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                  From public filings in other cases, Plaintiffs know that the government
    20   produced video recordings of its search of the boxes in this case. See Declaration of
         Benjamin N. Gluck in Support of First Amended Complaint for Relief Under Fed.
    21
         R. Crim. Pro. 41; Requesting Missing Property and Inventory and Records, In re
    22   Search and Seizure of Box No. 8309 at U.S. Private Vaults, No. 21-cv-3554, Dkt.
         16 (C.D. Cal.). These videos are an extremely important part of the record in this
    23   case, insofar as they show the scope of the government’s search and the procedures
         followed therein, and, as such, they are the subject of RFP 9.
    24          5
                  Plaintiffs are uncertain what (if anything) would need to be redacted from
    25   the videos, given that they will be produced subject to the protective order, and
         when Plaintiffs asked the government’s counsel he was not able to definitively say
    26   what was being redacted (though he suggested the government might be redacting
         references to internal FBI case numbers). See Frommer Decl. ¶ 5. Again, however,
    27   Plaintiffs mention this not to litigate any question concerning the scope of
         production but, rather, to highlight the need to establish a deadline for the
    28
         government to specify in detail what will or will not be produced.
                                                   11
           EX PARTE APPLICATION FOR ORDER SETTING A SCHEDULE FOR PRODUCTION OF DOCUMENTS
                                       AND DISCOVERY MOTIONS
Case 2:21-cv-04405-RGK-MAR Document 95 Filed 04/21/22 Page 18 of 26 Page ID #:1530



     1        The parties again conferred telephonically on April 21, 2022, and at that
     2   conference AUSA Victor Rodgers once again confirmed that the government fully
     3   intends to produce documents in response to RFPs 6, 7, 8, and 9. See Frommer
     4   Decl. ¶ 4. However, AUSA Rodgers explained that production involves cooperation
     5   between multiple departments of the FBI, only some of which he is able to
     6   communicate with, and that as a result the government is unable to commit to
     7   produce by a certain date. Id.
     8   III. LEGAL STANDARD
     9        “A party seeking ex parte relief must demonstrate: (1) the moving party is
    10   without fault in creating the crisis that requires ex parte relief or the crisis occurred
    11   as a result of excusable neglect; and (2) the moving party's cause will be irreparably
    12   prejudiced if the underlying motion is heard according to regular noticed motion
    13   procedures.” Altair Instruments, Inc. v. Telebrands Corp., No. 2:19-CV-08967-
    14   PSG-JC, 2020 WL 6106821, at *2 (C.D. Cal. July 10, 2020) (quoting Power Eng’g
    15   Co. v. Cont’l Cas. Co., 883 F. Supp. 488, 492 (C.D. Cal. 1995)).
    16   IV. ARGUMENT
    17        Part A explains the need for the relief sought by this Application—namely, to
    18   set a schedule that will allow for the timely production of documents as well as the
    19   timely resolution of any disputes concerning the scope of the government’s
    20   production. Part B explains that this Application meets the standard for ex parte
    21   relief, as Plaintiffs are without fault in creating the need for this relief and will be
    22   irreparably prejudiced if relief is denied.
    23      A. The Court’s Intervention Is Required To Set A Schedule That Will
    24          Allow The Parties To Complete Discovery In A Timely Fashion.
    25        This Application seeks an order that would set a schedule for production of
    26   documents and for the timely resolution of any disputes concerning the scope of the
    27   government’s production. As set out in the proposed order filed concurrently with
    28   the Application, the proposed schedule would (1) order the government to begin

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           EX PARTE APPLICATION FOR ORDER SETTING A SCHEDULE FOR PRODUCTION OF DOCUMENTS
                                       AND DISCOVERY MOTIONS
Case 2:21-cv-04405-RGK-MAR Document 95 Filed 04/21/22 Page 19 of 26 Page ID #:1531



     1   producing documents as soon as they are available and set a firm deadline of May
     2   6, 20226 for the government to finish its production, (2) order the government to
     3   specifically identify, in writing within 7 days, any categories of responsive
     4   documents that it intends to withhold from its upcoming production, (3) order the
     5   government to provide a complete privilege log no later than May 6, 2022, and (4)
     6   adopt an expedited briefing schedule for any subsequent motion to compel.
     7         This relief is necessary and appropriate to avoid prejudice to the ability of
     8   Plaintiffs and the broader class to litigate the important constitutional issues
     9   presented by this case. Opening briefs in this case are due in only two months, on
    10   June 21, 2021. See Dkt. 83. Given that impending deadline, Plaintiffs have no
    11   choice but to move forward with depositions—with the first deposition set for April
    12   28 and a subsequent deposition set for May 6. Vora Decl. ¶ 9. The bulk of
    13   depositions, including the 30(b)(6) deposition, are scheduled to occur May 16–27.
    14   Id. It already appears that Plaintiffs will need to take some depositions without
    15   access to documents, and, absent an order setting firm dates for production, it is
    16   possible that Plaintiffs will not have documents for any of the depositions in this
    17   case. Indeed, there is no guarantee that Plaintiffs will have documents in time to
    18   include them with their opening briefs.
    19        The government’s recalcitrance also creates a significant risk that Plaintiffs
    20   will be deprived of a meaningful opportunity to challenge any deficiency in the
    21   government’s production. As things currently stand, the government has generally
    22   confirmed that it intends to produce documents in response to the Plaintiffs’
    23   discovery requests, but, at the same time, it has left the door open to withholding
    24   some unspecified documents from that production. See Vora Decl. ¶ 8. This appears
    25   to be because—five months after the discovery requests were served—the
    26   documents still have not been reviewed by FBI’s Office of General Counsel. See
    27         6
                 The proposed May 6 deadline is reasonable given the government’s
         estimate on April 13 that discovery would be complete by May 4, 2022. See Vora
    28
         Decl. Ex. H at 59.
                                                   13
           EX PARTE APPLICATION FOR ORDER SETTING A SCHEDULE FOR PRODUCTION OF DOCUMENTS
                                       AND DISCOVERY MOTIONS
Case 2:21-cv-04405-RGK-MAR Document 95 Filed 04/21/22 Page 20 of 26 Page ID #:1532



     1   Vora Decl. Ex. H at 59 (“Once coded, the documents will be reviewed by FBI’s
     2   Office of General Counsel and then produced.”). If Plaintiffs learn for the first time
     3   in May that the government is withholding important documents, that will leave
     4   insufficient time to litigate any dispute in advance of depositions and, potentially,
     5   insufficient time to resolve any such dispute in advance of the June 21 deadline for
     6   opening briefs.
     7        The Court also has authority to provide the requested relief. Plaintiffs are not
     8   moving to compel any specific categories of documents—as the government has not
     9   definitively refused to produce anything in particular—but are bringing this
    10   Application pursuant to Federal Rule of Civil Procedure 37(a) insofar as that Rule
    11   allows the Court to set hard deadlines for production. See, e.g., Altair Instruments,
    12   2020 WL 6106821, at *2. The Court also has inherent authority to set deadlines for
    13   discovery, in order to “effectuat[e] the speedy and orderly administration of
    14   justice.” See, e.g., United States v. W.R. Grace, 526 F.3d 499, 508–09 (9th Cir.
    15   2008) (en banc). “There is universal acceptance in the federal courts that, in
    16   carrying out this mandate, a district court has the authority to enter pretrial case
    17   management and discovery orders designed to ensure that . . . the parties have an
    18   opportunity to engage in appropriate discovery.” Id.
    19        The decision in Altair Instruments is instructive in this regard. In that case, the
    20   moving party was seeking production of documents that Walmart, as a defendant,
    21   had previously committed to produce. 2020 WL 6106821, at *2. Walmart had not
    22   refused to produce the documents, but it also had not produced them either, and the
    23   Court noted that “[i]n light of Walmart’s ever-shifting position relative to the date
    24   of its production of responsive documents, the Court cannot fault Plaintiff for
    25   seeking ex parte relief, instead of relying on Walmart to stand by its representation
    26   to produce documents promptly.” Id. The Court then set a hard deadline for
    27   Walmart to produce the relevant documents, explaining that “Plaintiff would be
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           EX PARTE APPLICATION FOR ORDER SETTING A SCHEDULE FOR PRODUCTION OF DOCUMENTS
                                       AND DISCOVERY MOTIONS
Case 2:21-cv-04405-RGK-MAR Document 95 Filed 04/21/22 Page 21 of 26 Page ID #:1533



     1   prejudiced if Walmart did not produce the documents in advance of the Rule
     2   30(b)(6) deposition.” Id. Plaintiffs seek similar relief here.
     3        The decision in Sarieddine v. D&A Distribution, LLC, No. 17-cv-2390, 2018
     4   WL 5094937 (C.D. Cal. Apr. 6, 2018), is also instructive. In that case, the
     5   defendant had “failed to specify the time for production,” had raised “boilerplate
     6   objections and frequently failed to state what responsive documents are being
     7   withheld based on a specific objection,” and “failed to timely provide a privilege
     8   log to detail the documents being withheld based on an asserted privilege.” Id. at
     9   *4. The court observed that a “vague promise to provide such a log at some
    10   unspecified time violates the obligation of discovery cooperation.” Id. In response
    11   to these concerns, the Court entered an order directing the recalcitrant party to
    12   provide a privilege log and to set a date for final production of documents. Id.
    13   Facing similar circumstances, Plaintiffs here seek similar relief.
    14        Other cases likewise set firm deadlines for parties to produce documents and
    15   privilege logs, in order to ensure the timely completion of discovery. See, e.g., City
    16   of Colton v. Am. Promotional Events, Inc., No. 09-CV-01864, 2011 WL 13224072,
    17   at *2 (C.D. Cal. May 26, 2011) (setting a date for production and requiring a
    18   privilege log). And other cases likewise set shortened deadlines for discovery
    19   motions under appropriate circumstances. See, e.g., Rivas v. Gov’t Emps. Ins. Co.,
    20   No. 20-cv-00306, 2020 WL 8172993, at *2 (D. Nev. Apr. 23, 2020) (directing that
    21   the response to any discovery motion shall be filed within four days and replies two
    22   days thereafter); Vasquez v. County of Stanislaus, No. 19-cv-01610, 2020 WL
    23   6728933, at *2 (E.D. Cal. Nov. 16, 2020) (explaining that the court had granted an
    24   ex parte motion to set a shortened briefing schedule). The relief sought by this
    25   Application is thus within the authority of the Court and necessary to ensure that
    26   the parties can meet the deadline for briefs and trial without any prejudice to the
    27   ability of Plaintiffs and the broader class to pursue their constitutional claims.
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           EX PARTE APPLICATION FOR ORDER SETTING A SCHEDULE FOR PRODUCTION OF DOCUMENTS
                                       AND DISCOVERY MOTIONS
Case 2:21-cv-04405-RGK-MAR Document 95 Filed 04/21/22 Page 22 of 26 Page ID #:1534



     1      B. This Application Meets The Standard For Ex Parte Relief.
     2        Plaintiffs also meet the standard for ex parte relief. Plaintiffs played no part in
     3   creating the need for this Application, and Plaintiffs will be irreparably harmed if
     4   relief is not granted.
     5          1. Plaintiffs Are Without Fault In Creating The Need For The Court’s
     6              Intervention.
     7        Plaintiffs have repeatedly emphasized to the government the need to move
     8   quickly to produce documents and to surface any potential disputes over the scope
     9   of production. These communications include:
    10           In correspondence concerning the government’s initial request for an
    11             extension of time to respond. See Vora Decl. Ex. B. at 16–17, 19.
    12           In correspondence leading up to the initial motion to compel, where
    13             Plaintiffs asked the government to surface any additional issues beyond
    14             the protective order. See Vora Decl. Ex. F at 49–50.
    15           In the initial motion to compel, where Plaintiffs sought to establish a firm
    16             deadline for production. See Dkt. 85-1 at 6–7, 33–38.
    17           In correspondence following the Court’s March 30 Order, where Plaintiffs
    18             again sought to establish firm deadlines for production and to surface any
    19             latent discovery disputes. See Vora Decl. Ex. G at 54; Ex. H at 60; Ex. I at
    20             64–66, 67–68.
    21           At the April 14 meet-and-confer, at which Plaintiffs again sought to
    22             establish deadlines for production and to surface any potential disputes
    23             with respect to the scope of production. See Vora Decl. ¶¶ 2–7.
    24   In response to these repeated communications, the government has consistently
    25   maintained that it was planning to produce documents once a protective order was
    26   in place. See, e.g., Vora Decl. Ex. F at 48; Dkt. 85-1 at 39. The pace of production
    27   is, of course, within the government’s control, but Plaintiffs have consistently
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           EX PARTE APPLICATION FOR ORDER SETTING A SCHEDULE FOR PRODUCTION OF DOCUMENTS
                                       AND DISCOVERY MOTIONS
Case 2:21-cv-04405-RGK-MAR Document 95 Filed 04/21/22 Page 23 of 26 Page ID #:1535



     1   pushed the government to move expeditiously to produce documents and to surface
     2   any possible discovery disputes.
     3        Notwithstanding these consistent requests to the government, Plaintiffs did not
     4   learn until April 13, 2022 that the documents to be produced were still with the FBI
     5   Discovery Unit and had not yet been provided for review to the FBI’s Office of
     6   General Counsel. See Vora Decl. Ex. H at 59. Prior to that disclosure, Plaintiffs,
     7   like the Court itself, understood that there was “no reason why Defendants cannot
     8   immediately provide the list of class members and other requested documents to the
     9   Plaintiffs.” Dkt. 90 at 8 n.3 (emphasis added).7 And it was not until April 14,
    10   2022—when the government for the first time suggested that it was not sure
    11   whether it would produce documents in response to RFP 10, despite committing to
    12   do so earlier—that it became clear that Plaintiffs were correct to worry the ultimate
    13   production might not be as complete as they had previously been led to believe. See
    14   Vora Decl. ¶ 7. Once these things became clear, Plaintiffs moved promptly to
    15   present this dispute to the Court.
    16        Plaintiffs’ diligence in this respect is in no way undermined by the Court’s
    17   conclusion, in the March 30 order, that Plaintiffs had not met and conferred with
    18   respect to any “specific discovery disputes” or the “terms of Plaintiffs’ Motion to
    19   Compel.” Dkt. 90 at 7. Plaintiffs have not met and conferred with the government
    20   regarding the production of any specific documents because the government at this
    21   time has not definitively refused to produce any specific documents, so there is
    22   nothing to meet and confer about.8 Plaintiffs are seeking to comply with the Court’s
    23
               7
                  This understanding was reasonable given the government’s representation
    24   that the initial extension of time to respond to the discovery requests, in November
    25   2021, was necessary to allow FBI officials to collect the relevant documents. See
         Vora Decl. Ex. B at 16.
                8
    26            Plaintiffs are currently negotiating with the government concerning the
         scope of production under RFP 10. As explained supra n.2, this Application does
    27   not seek to litigate any substantive issues concerning the production under RFP 10
         and instead describes the dispute concerning RFP 10 in order to illustrate the need
    28
                                                                                   (continued…)
                                                  17
           EX PARTE APPLICATION FOR ORDER SETTING A SCHEDULE FOR PRODUCTION OF DOCUMENTS
                                       AND DISCOVERY MOTIONS
Case 2:21-cv-04405-RGK-MAR Document 95 Filed 04/21/22 Page 24 of 26 Page ID #:1536



     1   instruction to “conduct proper meet and confer sessions addressing the disputed
     2   discovery matters,” id. at 8, but Plaintiffs cannot meaningfully confer with the
     3   government if the government does not clarify the scope of its anticipated
     4   production. But Plaintiffs have repeatedly conferred with the government about the
     5   need to move expeditiously to produce documents and to raise any possible dispute,
     6   so that the parties can timely complete discovery.9
     7         2. Plaintiffs Will Be Irreparably Prejudiced Absent The Court’s
     8              Intervention.
     9        Given the June 21 deadline for opening briefs, Plaintiffs will be irreparably
    10   prejudiced if the requested relief is not granted.
    11        Timely production is required in order to ensure that Plaintiffs have access to
    12   documents to use for depositions in this case. See Altair Instruments, 2020 WL
    13   6106821, at *2 (finding prejudice where otherwise documents would not be
    14   available for 30(b)(6) deposition); see also Vora Dec. Ex. I at 63 (statement of
    15   counsel for the government that “[i]f you want documents prior to the depositions,
    16   then you should probably wait until I can give you additional updates”). At this
    17   time, Plaintiffs have noticed the first deposition in this case—of an FBI special
    18   agent involved in the search—for April 28. Vora Decl. ¶ 9. Plaintiffs have noticed
    19   the second deposition—of another FBI agent on the search—for May 6. Id. The
    20   parties have agreed to schedule additional depositions of government officials—
    21   including the 30(b)(6) deposition—to occur between May 16 and 27. Id. Under the
    22

    23   to set a firm deadline for the government to disclose any documents or categories of
         documents that will be withheld from its production.
    24          9
                  To the extent that the requirements of the local rules could be applied to
    25   prevent Plaintiffs from obtaining discovery in this case—despite their timely
         discovery requests and their repeated attempts to secure discovery—such an
    26   application of the local rules would be inconsistent with the Federal Rules of Civil
         Procedure and therefore invalid under Federal Rule of Civil Procedure 83(a); see
    27   also Fed. R. Civ. P. 83(a)(2) (stating that a “local rule imposing a requirement of
         form must not be enforced in a way that causes a party to lose any right because of
    28
         a nonwillful failure to comply”).
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           EX PARTE APPLICATION FOR ORDER SETTING A SCHEDULE FOR PRODUCTION OF DOCUMENTS
                                       AND DISCOVERY MOTIONS
Case 2:21-cv-04405-RGK-MAR Document 95 Filed 04/21/22 Page 25 of 26 Page ID #:1537



     1   schedule that Plaintiffs propose in this Application, Plaintiffs would already be
     2   prejudiced insofar as they would not have the full documents for the April 28
     3   deposition and would not have time to review all the documents prior to the May 6
     4   deposition. But such a schedule would at least minimize the prejudice to Plaintiffs
     5   by ensuring that Plaintiffs have access to documents in order to prepare for the
     6   30(b)(6) and other depositions in the case.
     7        The requested relief is also required in order to ensure that Plaintiffs receive
     8   documents that they are entitled to receive prior to the close of discovery. See, e.g.,
     9   City of Riverside v. Greyhound Lines, Inc., No. EDCV16796ABSPX, 2017 WL
    10   11632085, at *3 (C.D. Cal. May 16, 2017) (finding ex parte relief justified in light
    11   of impending depositions and the upcoming discovery cut off); Martin v. City of
    12   Barstow, No. EDCV132193ABSP, 2015 WL 12743593, at *2 (C.D. Cal. May 5,
    13   2015) (finding ex parte relief justified given “impending discovery cutoff”). As
    14   things currently stand, if the government is allowed to delay its production until
    15   sometime in May, and that production is incomplete in any respect, there may not
    16   be time to fully litigate that issue in advance of the June 21 briefing deadline. By
    17   contrast, the requested relief will surface any issues with the production in a timely
    18   fashion, to ensure that those issues can be litigated and the Court’s discovery
    19   schedule can be kept without any prejudice to the ability of the Plaintiffs and the
    20   broader class to litigate the important constitutional issues raised by this case.
    21   V. CONCLUSION
    22        For the foregoing reasons, the Court should (1) order the government to begin
    23   producing documents as soon as they are available and set a firm date of May 6,
    24   2022 for the government to finish its production, (2) order the government to
    25   specifically identify, in writing within 7 days, any categories of responsive
    26   documents that it intends to withhold from its upcoming production, (3) order the
    27   government to provide a complete privilege log no later than May 6, 2022, and (4)
    28   adopt an expedited briefing schedule for any subsequent motion to compel.

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           EX PARTE APPLICATION FOR ORDER SETTING A SCHEDULE FOR PRODUCTION OF DOCUMENTS
                                       AND DISCOVERY MOTIONS
Case 2:21-cv-04405-RGK-MAR Document 95 Filed 04/21/22 Page 26 of 26 Page ID #:1538



     1   Dated: April 21, 2022
                                               Respectfully Submitted,
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          EX PARTE APPLICATION FOR ORDER SETTING A SCHEDULE FOR PRODUCTION OF DOCUMENTS
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